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                                                                                           FILED
                                                                                      IN OPEN COURT
                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA                         JAN 1 0...,
                                       Alexandria Division                      CLERK. U.S. DISTRICT COURT
                                                                                    ALEXANDRIA. VIROIWIA

 UNITED STATES OF AMERICA


                   V.                                  Case No. l:23-CR-202


 SAP SE                                                Hon. Rossie D. Alston, Jr.

                    Defendant



                        DEFERRED PROSECUTION AGREEMENT


       Defendant SAP SE (the "Company"), pursuant to authority granted by the Company's

Board of Directors reflected in Attachment B, the United States Department of Justice, Criminal

Division, Fraud Section (the "Fraud Section"), and the United States Attorney's Office for the

Eastern District of Virginia (the "Office")(collectively, the "Fraud Section and the Office") enter

into this deferred prosecution agreement (the "Agreement"). The terms and conditions of this

Agreement are as follows:

                   Criminal Information and Acceptance of Responsibility


       1.      The Company acknowledges and agrees that the Fraud Section and the Office will

file the attached two-count criminal Information in the United States District Court for the Eastern

District of Virginia charging the Company with two counts of conspiracy to commit an offense

against the United States, in violation of Title 18, United States Code, Section 371, that is, to

violate the anti-bribery provisions of the Foreign Corrupt Practices Act of 1977 ("FCPA"), as

amended, Title 15, United States Code, Sections 78dd-l and 78m. In so doing, the Company:(a)

knowingly waives any right it may have to indictment on these charges, as well as all rights to a

speedy trial pursuant to the Sixth Amendment to the United States Constitution, Title 18, United
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States Code, Section 3161, and Federal Rule of Criminal Procedure 48(b);(b) knowingly waives

any objection with respect to venue to any charges by the United States arising out ofthe conduct

described in the Statement of Facts attached hereto as Attachment A ("Statement of Facts") and

consents to the filing of the Information, as provided under the terms of this Agreement, in the

United States District Court for the Eastern District of Virginia; and (c) agrees that the charges in

the Information and any charges arising from the conduct described in the Statement of Facts are

not time-barred by the applicable statute oflimitations on the date ofthe signing ofthis Agreement.

The Fraud Section and the Office agree to defer prosecution ofthe Company pursuant to the terms

and conditions described below.


       2.      The Company admits,accepts,and acknowledges that it is responsible under United

States law for the acts of its officers, directors, employees, and agents as charged in the

Information, and as set forth in the Statement of Facts, and that the allegations described in the

Information and the facts described in the Statement of Facts are true and accurate. The Company

agrees that, effective as of the date the Company signs this Agreement, in any prosecution that is

deferred by this Agreement, it will not dispute the Statement of Facts set forth in this Agreement,

and, in any such prosecution, the Statement of Facts shall be admissible as: (a) substantive

evidence offered by the government in its case-in-chief and rebuttal case; (b) impeachment

evidence offered by the government on cross-examination; and (c) evidence at any sentencing

hearing or other hearing. In addition, in connection therewith, the Company agrees not to assert

any claim under the United States Constitution, Rule 410 of the Federal Rules of Evidence, Rule

11(f)ofthe Federal Rules ofCriminal Procedure, Section 1B1.1(a)ofthe United States Sentencing
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Guidelines, or any other federal rule that the Statement of Facts should be suppressed or is

otherwise inadmissible as evidence in any form.

                                     Term ofthe Agreement


         3.    This Agreement is effective for a period beginning on the date on which the

Information is filed and ending three years from that date (the "Term"). The Company agrees,

however,that, in the event the Fraud Section and the Office determine, in their sole discretion, that

the Company has knowingly violated any provision ofthis Agreement or has failed to completely

perform or fulfill each of the Company's obligations under this Agreement, an extension or

extensions of the Term may be imposed by the Fraud Section and the Office, in their sole

discretion, for up to a total additional time period of one year, without prejudice to the Fraud

Section's and the Office's right to proceed as provided in Paragraphs 18 to 22 below. Any

extension of the Agreement extends all terms of this Agreement, including the terms of the

reporting requirement in Attachment D, for an equivalent period. Conversely, in the event the

Fraud Section and the Office find, in their sole discretion, that there exists a change in

circumstances sufficient to eliminate the need for the reporting requirement in Attachment D,and

that the other provisions ofthis Agreement have been satisfied, the Agreement may be terminated

early.

                                    Relevant Considerations


         4.    The Fraud Section and the Office enter into this Agreement based on the individual

facts and circumstances presented by this case and the Company,including:

               a.      the nature and seriousness of the offense conduct, as described in the

Statement of Facts, including multi-year schemes to pay bribes benefltting South African and
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Indonesian officials in order to obtain and retain contracts, and associated falsification of the

Company's books and records regarding payments to third-party intermediaries in South Africa,

all of which resulted in profits of approximately $103,396,765 to the Company;

               b.     the Company did not receive voluntary disclosure credit pursuant to the

Criminal Division's Corporate Enforcement and Voluntary Self-Disclosure Policy, or pursuant to

U.S. Sentencing Guidelines("U.S.S.G." or"Sentencing Guidelines")§ 8C2.5(g)(l), because it did

not voluntarily and timely disclose to the Fraud Section and the Office the conduct described in

the Statement of Facts;

               c.     the Company received credit for its cooperation with the Fraud Section and

the Office's investigation pursuant to U.S.S.G. § 8C2.5(g)(2) because it cooperated with their

investigation and demonstrated recognition and affirmative acceptance of responsibility for its

criminal conduct; the Company also received credit for its substantial cooperation and timely

remediation pursuant to the Criminal Division's Corporate Enforcement and Voluntary Self-

Disclosure Policy. The Company's cooperation included, among other things, (i) immediately

beginning to cooperate after South African investigative reports made public allegations of the

South Africa-related misconduct in 2017 and providing regular, prompt, and detailed updates to

the Fraud Section and the Office regarding factual information obtained through its own internal

investigation, which allowed the government to preserve and obtain evidence as part of its

independent investigation; (ii) producing relevant documents and other information to the Fraud

Section and the Office from multiple foreign countries expeditiously, while navigating foreign

data privacy and related laws;(iii) at the request of the Fraud Section and the Office, voluntarily

making Company officers and employees available for interviews; (iv) taking significant
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affirmative steps to.facilitate interviews while addressing witness security concerns;(v) raising

and resolving potential deconfliction issues between the Company's internal investigation and the

investigation being conducted by the Fraud Section and the Office; (vi) promptly collecting,

analyzing, and organizing voluminous information, including complex financial information, at

the request of the Fraud Section and the Office; (vii) translating voluminous foreign language

documents to facilitate and expedite review by the Fraud Section and the Office; and (viii)imaging

the phones of relevant custodians at the beginning of the Company's internal investigation, thus

preserving relevant and highly probative business communications sent on mobile messaging

applications;

                d.    the Company provided to the Fraud Section and the Office all relevant facts

known to it, including information about the individuals involved in the conduct described in the

attached Statement of Facts and conduct disclosed to the Fraud Section and the Office prior to the

Agreement;

                e.    the Company also received credit pursuant to the Criminal Division

Corporate Enforcement and Voluntary Self-Disclosure Policy because it engaged in timely

remedial measures, including: (i) conducting an analysis of the root causes of the underlying

conduct and gap analysis, and undertaking appropriate remediation to address those root causes

and enhance its compliance program and related controls; (ii) undertaking a comprehensive risk

assessment focusing on high risk areas and controls around payment processes and enhancing its

regular compliance risk assessment process, including by incorporating comprehensive

operational and compliance data into its risk assessments; (iii) eliminating its third-party sales

commission model globally, and prohibiting all sales commissions for public sector contracts in
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high-risk markets; (iv) significantly increasing the budget, resources, and expertise devoted to

compliance and restructuring its Offices of Ethics and Compliance to ensure adequate stature,

independence, autonomy, and access to executive leadership;(v) enhancing its code of conduct

and policies and procedures regarding gifts, hospitality, and the use ofthird parties;(vi)enhancing

its reporting, investigations and consequence management processes;(vii)adjusting compensation

incentives to align with compliance objectives and reduce corruption risk; (viii) enhancing and

expanding compliance monitoring and audit programs, planning, and resources, including

developing a well-resourced team devoted to audits of third-party partners and suppliers; (ix)

expanding its data analytics capabilities to cover over 150 countries, including all high-risk

countries globally; and (x) promptly disciplining any and all employees involved in the

misconduct.


               f.     the Company withheld bonuses totaling $109,141 during the course of its

internal investigation from employees who engaged in suspected wrongdoing in connection with

the conduct under investigation, or who both (a) had supervisory authority over the employee(s)

or business area engaged in the misconduct and (b) knew of, or were willfully blind to, the

misconduct, and further engaged in substantial litigation to defend its withholding from those

employees, qualifying the Company for an additional fine reduction in the amount ofthe withheld

bonuses under the Criminal Division's March 2023 Compensation Incentives and Clawbacks Pilot

Program ("Pilot Program");

               g.     the Company has enhanced and has committed to continuing to enhance its

compliance program and internal controls,including ensuring that its compliance program satisfies
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the minimum elements set forth in Attachment C to this Agreement (Corporate Compliance

Program);

               h.     based on the Company's remediation and the state of its compliance

program, and the Company's agreement to report to the Fraud Section and the Office as set forth

in Attachment D to this Agreement(Compliance Reporting Requirements),the Fraud Section and

the Office determined that an independent compliance monitor was unnecessary;

               i.     the Company has had prior criminal and civil resolutions with authorities in

the United States and elsewhere, including, as relevant here, a non-prosecution agreement in 2021

with the Department's National Security Division, as well as administrative agreements with the

Departments of Commerce and Treasury, following the Company's voluntary self-disclosure of

potential export law violations; the Company also entered into a resolution in 2016 with the

Securities and Exchange Commission("SEC")concerning alleged FCPA violations in Panama;

              j.      the Company's agreement to resolve concurrently a separate investigation

by the SEC relating, in part, to the conduct described in the Statement of Facts and its agreement

to pay $85,046,035 in disgorgement; and the Company's anticipated resolution with authorities in

South Africa relating to the South Africa portion of the conduct described in the Statement of

Facts, which resolutions the Fraud Section and the Office are crediting in connection with the

criminal penalty and disgorgement specified in this Agreement;

               k.     the Company has agreed to continue to cooperate with the Fraud Section

and the Office in any ongoing investigation as described in Paragraph 5 below; and

               1.     accordingly, after considering(a)through (k)above,the Fraud Section and

the Office have determined that the appropriate resolution in this case is a deferred prosecution
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agreement and a criminal penalty of$118,800,000, which reflects a discount of40 percent offthe

tenth percentile ofthe otherwise-applicable Sentencing Guidelines fine range, taking into account

the Company's cooperation and remediation, as well as its prior history, pursuant to the Corporate

Enforcement and Voluntary Self-Disclosure Policy; and disgorgement in the amount of

$103,396,765.

                      Ongoing Cooperation and Disclosure Requirements


       5.       The Company shall cooperate fully with the Fraud Section and the Office in any

and all matters relating to the conduct described in this Agreement and the attached Statement of

Facts and other conduct under investigation by the Fraud Section and the Office at any time during

the Term until the later of the date upon which all investigations and prosecutions arising out of

such conduct are concluded, or the end of the Term. At the request of the Fraud Section and the

Office, the Company shall also cooperate fully with other domestic or foreign law enforcement

and regulatory authorities and agencies,as well as the Multilateral Development Banks("MDBs"),

in any investigation ofthe Company,its affiliates, or any ofits present or former officers, directors,

employees,agents,and consultants,or any other party,in any and all matters relating to the conduct

described in this Agreement and the attached Statement of Facts and other conduct under

investigation by the Fraud Section and the Office. The Company's cooperation pursuant to this

Paragraph is subject to applicable law and regulations,including data privacy and national security

laws, as well as valid claims of attorney-client privilege or attorney work product doctrine;

however, the Company must provide to the Fraud Section and the Office a log of any information

or cooperation that is not provided based on an assertion of law, regulation, or privilege, and the

Company bears the burden of establishing the validity of any such an assertion. The Company


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agrees that its cooperation pursuant to this paragraph shall include, but not be limited to, the

following:

                a.      The Company represents that it has timely and truthfully disclosed all

factual information with respect to its activities, those of its subsidiaries and affiliates, and those

of its present and former directors, officers, employees, agents, and consultants relating to the

conduct described in this Agreement and the attached Statement of Facts, as well as any other

conduct under investigation by the Fraud Section and the Office at any time about which the

Company has any knowledge. The Company further agrees that it shall promptly and truthfully

disclose all factual information with respect to its activities, those of its subsidiaries and affiliates,

and those of its present and former directors, officers, employees, agents, and consultants about

which the Company shall gain any knowledge or about which the Fraud Section and the Office

may inquire. This obligation oftruthful disclosure includes, but is not limited to, the obligation of

the Company to provide to the Fraud Section and the Office, upon request, any document, record,

or other tangible evidence about which the Fraud Section and the Office may inquire of the

Company including evidence that is responsive to any requests made prior to the execution ofthis

Agreement.

                b.      Upon request of the Fraud Section and the Office, the Company shall

designate knowledgeable employees, agents, or attorneys to provide to the Fraud Section and the

Office the information and materials described in Paragraph 5(a)above on behalf ofthe Company.

It is further understood that the Company must at all times provide complete,truthful, and accurate

information.
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               c.     The Company shall use its best efforts to make available for interviews or

testimony, as requested by the Fraud Section and the Office, present or former officers, directors,

employees, agents, and consultants of the Company. This obligation includes, but is not limited

to, sworn testimony before a federal grand jury or in federal trials, as well as interviews with

domestic or foreign law enforcement and regulatory authorities. Cooperation under this Paragraph

shall include identification ofwitnesses who,to the knowledge ofthe Company,may have material

information regarding the matters under investigation.

               d.     With respect to any information, testimony, documents, records, or other

tangible evidence provided to the Fraud Section and the Office pursuant to this Agreement, the

Company consents to any and all disclosures, subject to applicable laws and regulations, to other

governmental authorities, including United States authorities and those of a foreign government,

as well as the MDBs,of such materials as the Fraud Section and the Office, in its sole discretion,

shall deem appropriate.

       6.      In addition to the obligations in Paragraph 5,during the Term,should the Company

learn of any evidence or allegation of conduct that may constitute a violation of the FCPA anti-

bribery or accounting provisions had the conduct occurred within the jurisdiction of the United

States, the Company shall promptly report such evidence or allegation to the Fraud Section and

the Office.


                                Payment of Monetary Penalty


       7.      The Fraud Section and the Office and the Company agree that application of the

United States Sentencing Guidelines to determine the applicable fine range yields the following

analysis:


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              a.     The November 1,2023 U.S.S.G. are applicable to this matter.

              b.     Offense Level. Based upon U.S.S.G. § 2C1.1,the total offense level is 42,
                     calculated as follows:


                     §2C1.1(a)(2) Base Offense Level                              12

                     § 2C1.1(b)(1) More than One Bribe                            +2

                     §§2Cl.l(b)(2),2Bl.l(b)(l)(M)                                +24
                     Benefit(More than $ 65,000,000)

                     §2C1.1(b)(3) Involvement of High-Level Public Official       +4

                     TOTAL                                                        42

              c.     Base Fine Based upon U.S.S.G. § 8C2.4(d), the base fine is
                     $150,000,000.

              d.     Culpabilitv Score. Based upon U.S.S.G. § 8C2.5,the culpability score is
                     6, calculated as follows:

                     § 8C2.5(a)      Base Culpability Score                        5

                     § 8C2.5(b)(3)(B)(i)      Unit had 200 or more employees      +3
                                              and High-Level Personnel

                     § 8C2.5(g)(2) Cooperation, Acceptance                        -2

                     TOTAL                                                         6

              Calculation of Fine Range:


              Base Fine                                           $150,000,000

              Multipliers                                         1.2(min)/ 2.4(max)

              Fine Range                                          $180,000,000 / $360,000,000


       8.     The Fraud Section and the Office and the Company agree, based on the application

ofthe Sentencing Guidelines,that the appropriate criminal penalty is $118,800,000(the "Criminal



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Penalty"). This reflects a 40 percent discount off the 10th percentile ofthe Sentencing Guidelines

fine range.

       9.      The Company and the Fraud Section and the Office agree that the Company will

pay a monetary penalty in the amount of $63,590,859, equal to approximately fifty-four percent

of the Criminal Penalty ($63,700,000), reduced by $109,141 under the Criminal Division's Pilot

Program Regarding Compensation Incentives and Clawbacks, to the United States Treasury no

later than ten business days after the Agreement is fully executed. The Fraud Section and the

Office agree to credit toward the Criminal Penalty the amount paid by the Company to authorities

in South Africa for violations of South African law related to the same conduct described in the


Statement ofFacts, up to a maximum of$55,100,000(the"Penalty Credit Amount"), within twelve

months ofthe execution ofthis Agreement. Should any amount ofthe Penalty Credit Amount not

be paid within twelve months of the execution of this Agreement, or be returned to the Company

or any affiliated entity for any reason,the remaining balance ofthe Penalty Credit Amount will be

paid to the United States Treasury within twelve months ofthe execution ofthis Agreement. The

Company and the Fraud Section and the Office agree that this penalty is appropriate given the facts

and circumstances ofthis case, including the Relevant Considerations described in Paragraph 4 of

this Agreement. The Criminal Penalty is final and shall not be refunded. Furthermore, nothing in

this Agreement shall be deemed an agreement by the Fraud Section and the Office that the Criminal

Penalty is the maximum penalty that may be imposed in any future prosecution, and the Fraud

Section and the Office are not precluded from arguing in any future prosecution that the Court

should impose a higher Criminal Penalty, although the Fraud Section and the Office agree that

under those circumstances, it will recommend to the Court that any amount paid under this

Agreement should be offset against any penalty or fine the Court imposes as part of a future

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judgment. The Company acknowledges that no tax deduction may be sought in connection with

the payment of any part of the Criminal Penalty. The Company shall not seek or accept directly

or indirectly reimbursement or indemnification from any source with regard to the Criminal

Penalty or disgorgement amounts that the Company pays pursuant to this Agreement or any other

agreement entered into with an enforcement authority or regulator concerning the facts set forth in

the Statement ofFacts.


                              Forfeiture and Disgorgement


       10.     As a result of the Company's conduct, including the conduct set forth in the

attached Statement of Facts, the parties agree that the Fraud Section and the Office could institute

a civil and/or criminal forfeiture action against certain funds held by the Company and that such

funds would be forfeitable pursuant to Title 18, United States Code, Section 981(a)(1)(C) and

982(a)(2)and Title 28, United States Code,Section 2461(c). The Company hereby admits that the

facts set forth in the Statement of Facts establish that at least $103,396,765, representing the

proceeds traceable to the commission of the offense, is forfeitable to the United States (the

"Forfeiture Amount"). The Company releases any and all claims it may have to the Forfeiture

Amount, agrees that the forfeiture of such funds may be accomplished either administratively or

Judicially at the Fraud Section's and the Office's election, and waives the requirements of any

applicable laws, rules or regulations governing the forfeiture of assets, including notice of the

forfeiture. If the Fraud Section and the Office seek to forfeit the Forfeiture Amountjudicially or

administratively, the Company consents to entry of an order of forfeiture or declaration of

forfeiture directed to such funds and waives any defense it may have under Title 18, United States

Code, Sections 981-984,including but not limited to notice, statute of limitations, and venue. The

Company agrees to sign any additional documents necessary to complete forfeiture of the

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Forfeiture Amount. The Company also agrees that it shall not file any petitions for remission,

restoration, or any other assertion of ownership or request for retum relating to the Forfeiture

Amount, or any other action or motion seeking to collaterally attach the seizure, restraint,

forfeiture, or conveyance ofthe Forfeiture Amount,nor shall it assist any others in filing any such

claims, petitions, actions, or motions.

       11.      The Fraud Section and the Office agree to credit toward the Forfeiture Amount any

proceeds traceable to the commission ofthe offense that are disgorged by the Company to the SEC

and South African authorities, including repayments to customers of any ofthe transactions listed

in the Statement of Facts, up to a maximum amount of $103,396,765 (the "Forfeiture Credit

Amount"). Should any amount ofthe Forfeiture Credit Amount not be paid to the SEC and South

African authorities and in connection with the Company's resolutions with those authorities within

twelve months of the execution of this Agreement, the Company agrees that it shall make a

payment of any remaining unpaid portion of the Forfeiture Credit Amount by wire transfer

pursuant to instructions provided by the Fraud Section and the Office no later than 10 business

days after one year from the date ofthe Agreement.

       12.     Any portion of the Disgorgement Amount that is paid is final and shall not be

refunded should the Fraud Section and the Office later determine that the Company has breached

this Agreement and commence a prosecution against the Company. In the event of a breach of

this Agreement and subsequent prosecution, the Fraud Section and the Office are not limited to

the Disgorgement Amount. The Fraud Section and the Office agree that in the event of a

subsequent breach and prosecution, they will recommend to the Court that the amounts paid

pursuant to this Agreement be offset against whatever forfeiture the Court shall impose as part of



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its judgment. The Company understands that such a recommendation will not be binding on the

Court.


                               Conditional Release from Liability


         13.    Subject to Paragraphs 18 to 22, the Fraud Section and the Office agree, except as

provided in this Agreement,that they will not bring any criminal or civil case against the Company

relating to any ofthe conduct described in the Statement ofFacts or the criminal Information filed

pursuant to this Agreement. The Fraud Section and the Office, however, may use any information

related to the conduct described in the Statement of Facts against the Company: (a) in a

prosecution for perjury or obstruction ofjustice;(b)in a prosecution for making a false statement;

(c) in a prosecution or other proceeding relating to any crime of violence; or(d) in a prosecution

or other proceeding relating to a violation ofany provision of Title 26 ofthe United States Code.

                a.      This Agreement does not provide any protection against prosecution for any

future conduct by the Company.

                b.      In addition, this Agreement does not provide any protection against

prosecution of any individuals, regardless of their affiliation with the Company or any of its

affiliates or subsidiaries.


                                Corporate Compliance Program


         14.    The Company represents that it has implemented and will continue to implement a

compliance and ethics program designed to prevent and detect violations of the FCPA and other

applicable anti-corruption laws throughout its operations, including those of its affiliates, agents,

and joint ventures, and those of its contractors and subcontractors whose responsibilities include

interacting with foreign officials or other activities carrying a high risk of corruption, including,

but not limited to, the minimum elements set forth in Attachment C.

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       15.     In order to address any deficiencies in its internal accounting controls, policies, and

procedures, the Company represents that it has undertaken, and will continue to undertake in the

future, in a manner consistent with all of its obligations under this Agreement, a review of its

existing internal accounting controls, policies, and procedures regarding compliance with the

FCPA and other applicable anti-corruption laws. Where necessary and appropriate, the Company

agrees to adopt a new compliance program, or to modify its existing one, including internal

controls, compliance policies, and procedures in order to ensure that it maintains:(a) an effective

system of internal accounting controls designed to ensure the making and keeping of fair and

accurate books,records, and accounts; and(b)a rigorous anti-corruption compliance program that

incorporates relevant internal accounting controls, as well as policies and procedures designed to

effectively detect and deter violations the FCPA and other applicable anti-corruption laws. The

compliance program, including the internal accounting controls system will include, but not be

limited to, the minimum elements set forth in Attachment C.

                               Corporate Compliance Reporting


       16.     The Company agrees that it will report to the Fraud Section and the Office annually

during the Term regarding remediation and implementation ofthe compliance measures described

in Attachment C. These reports will be prepared in accordance with Attachment D.

       17.     Thirty days prior to the expiration of the Term, the Company, by the Chief

Executive Officer and Group Chief Compliance Officer, will certify to the Fraud Section and the

Office, in the form of executing the document attached as Attachment F to this Agreement, that

the Company has met its compliance obligations pursuant to this Agreement. Each certification

will be deemed a material statement and representation by the Company to the executive branch



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of the United States for purposes of Title 18, United States Code, Sections 1001 and 1519, and it

will be deemed to have been made in the judicial district in which this Agreement is filed.

                                     Deferred Prosecution


       18.      In consideration of the undertakings agreed to by the Company herein, the Fraud

Section and the Office agree that any prosecution ofthe Company for the conduct set forth in the

Statement ofFacts be and hereby is deferred for the Term. To the extent there is conduct disclosed

by the Company that is not set forth in the Statement of Facts, such conduct will not be exempt

from further prosecution and is not within the scope ofor relevant to this Agreement.

       19.      The Fraud Section and the Office further agree that ifthe Company fully complies

with all ofits obligations under this Agreement,the Fraud Section and the Office will not continue

the criminal prosecution against the Company described in Paragraph 1 and, at the conclusion of

the Term,this Agreement shall expire. Within six months after the Agreement's expiration, the

Fraud Section and the Office shall seek dismissal with prejudice ofthe criminal Information filed

against the Company described in Paragraph 1 and agree not to file charges in the future against

the Company based on the conduct described in this Agreement and the Statement of Facts. If,

however, the Fraud Section and the Office determine during this six-month period that the

Company breached the Agreement during the Term, as described in Paragraph 20, the Fraud

Section's and the Office's ability to extend the Term, as described in Paragraph 3, or to pursue

other remedies, including those described in Paragraphs 20 to 24, remains in full effect.

                                   Breach of the Agreement


       20.     If, during the Term,the Company (a)commits any felony under U.S. federal law;

(b) provides in connection with this Agreement deliberately false, incomplete, or misleading

information, including in connection with its disclosure of information about individual

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culpability;(c)fails to cooperate as set forth in Paragraphs 5 and 6 of this Agreement;(d)fails to

implement a compliance program and report to the Fraud Section and the Office as set forth in

Paragraphs 14 through 17 ofthis Agreement and Attachment C and D;(e) commits any acts that,

had they occurred within the jurisdictional reach ofthe FCPA,would be a violation ofthe FCPA;

or(f) otherwise fails to completely perform or fulfill each ofthe Company's obligations under the

Agreement,regardless of whether the Fraud Section and the Office become aware ofsuch a breach

after the Term is complete, the Company shall thereafter be subject to prosecution for any federal

criminal violation of which the Fraud Section and the Office have knowledge, including, but not

limited to, the charges in the Information described in Paragraph 1, which may be pursued by the

Fraud Section and the Office in the U.S. District Court for the Eastem District of Virginia or any

other appropriate venue. Determination ofwhether the Company has breached the Agreement and

whether to pursue prosecution of the Company shall be in the Fraud Section's and the Office's

sole discretion. Any such prosecution may be premised on information provided by the Company

or its personnel. Any such prosecution relating to the conduct described in the Statement of Facts

or relating to conduct known to the Fraud Section and the Office prior to the date on which this

Agreement was signed that is not time-barred by the applicable statute of limitations on the date

of the signing of this Agreement may be commenced against the Company, notwithstanding the

expiration of the statute of limitations, between the signing of this Agreement and the expiration

ofthe Term plus one year. Thus, by signing this Agreement, the Company agrees that the statute

oflimitations with respect to any such prosecution that is not time-barred on the date ofthe signing

ofthis Agreement shall be tolled for the Term plus one year. In addition,the Company agrees that

the statute of limitations as to any violation of federal law that occurs during the Term will be

tolled from the date upon which the violation occurs until the earlier of the date upon which the

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Fraud Section and the Office are made aware ofthe violation or the duration ofthe Term plus five

years, and that this period shall be excluded from any calculation of time for purposes of the

application ofthe statute of limitations.

       21.      In the event the Fraud Section and the Office determine that the Company has

breached this Agreement, the Fraud Section and the Office agree to provide the Company with

written notice of such breach prior to instituting any prosecution resulting from such breach.

Within thirty days of receipt of such notice,the Company shall have the opportunity to respond to

the Fraud Section and the Office in writing to explain the nature and circumstances ofsuch breach,

as well as the actions the Company has taken to address and remediate the situation, which

explanation the Fraud Section and the Office shall consider in determining whether to pursue

prosecution ofthe Company.

       22.      In the event that the Fraud Section and the Office determine that the Company has

breached this Agreement: (a) all statements made by or on behalf of the Company to the Fraud

Section and the Office or to the Court, including the Statement of Facts, and any testimony given

by the Company before a grand jury,a court, or any tribunal, or at any legislative hearings, whether

prior or subsequent to this Agreement, and any leads derived from such statements or testimony,

shall be admissible in evidence in any and all criminal proceedings brought by the Fraud Section

and the Office against the Company; and (b) the Company shall not assert any claim under the

United States Constitution, Rule 11(f) ofthe Federal Rules of Criminal Procedure, Rule 410 ofthe

Federal Rules of Evidence, or any other federal rule that any such statements or testimony made

by or on behalf of the Company prior or subsequent to this Agreement, or any leads derived

therefrom, should be suppressed or are otherwise inadmissible. The decision whether conduct or

statements ofany current director, officer or employee, or any person acting on behalf of, or at the

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direction of,the Company,will be imputed to the Company for the purpose ofdetermining whether

the Company has violated any provision of this Agreement shall be in the sole discretion of the

Fraud Section and the Office.


        23.     The Company acknowledges that the Fraud Section and the Office have made no

representations, assurances, or promises concerning what sentence may be imposed by the Court

if the Company breaches this Agreement and this matter proceeds to judgment. The Company

further acknowledges that any such sentence is solely within the discretion of the Court and that

nothing in this Agreement binds or restricts the Court in the exercise of such discretion.

        24.     On the date that the period of deferred prosecution specified in this Agreement

expires, the Company, by the Chief Executive Officer of the Company and the Chief Financial

Officer ofthe Company, will certify to the Fraud Section and the Office in the form of executing

the document attached as Attachment E to this Agreement that the Company has met its disclosure

obligations pursuant to Paragraph 6 of this Agreement. Each certification will be deemed a

material statement and representation by the Company to the executive branch ofthe United States

for purposes of 18 U.S.C. §§ 1001 and 1519, and it will be deemed to have been made in the

judicial district in which this Agreement is filed.

               Sale, Merger,or Other Change in Corporate Form of Company


        25.     Except as may otherwise be agreed by the parties in connection with a particular

transaction, the Company agrees that in the event that, during the Term, it undertakes any change

in corporate form, including if it sells, merges, or transfers business operations that are material to

the Company's consolidated operations, or to the operations of any subsidiaries or affiliates

involved in the conduct described in the Statement of Facts, as they exist as of the date of this

Agreement, whether such sale is structured as a sale, asset sale, merger, transfer, or other change

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in corporate form, it shall include in any contract for sale, merger, transfer, or other change in

corporate form a provision binding the purchaser, or any successor in interest thereto, to the

obligations described in this Agreement. The purchaser or successor in interest must also agree in

writing that the Fraud Section's and the Office's ability to determine a breach under this

Agreement is applicable in full force to that entity. The Company agrees that the failure to include

these provisions in the transaction will make any such transaction null and void. The Company

shall provide notice to the Fraud Section and the Office at least thirty days prior to undertaking

any such sale, merger, transfer, or other change in corporate form. The Fraud Section and the

Office shall notify the Company prior to such transaction (or series of transactions) if they

determine that the transaction or transactions will have the effect of circumventing or frustrating

the enforcement purposes ofthis Agreement. If at any time during the Term the Company engages

in a transaction (or series of transactions) that has the effect of circumventing or frustrating the

enforcement purposes of this Agreement, the Fraud Section and the Office may deem it a breach

of this Agreement pursuant to Paragraphs 20-24 ofthis Agreement. Nothing herein shall restrict

the Company from indemnifying (or otherwise holding harmless) the purchaser or successor in

interest for penalties or other costs arising from any conduct that may have occurred prior to the

date ofthe transaction, so long as such indemnification does not have the effect of circumventing

or frustrating the enforcement purposes ofthis Agreement,as determined by the Fraud Section and

the Office.


                                       Public Statements


       26.      The Company expressly agrees that it shall not,through present or future attorneys,

officers, directors, employees, agents, or any other person authorized to speak for the Company

make any public statement, in litigation or otherwise,contradicting the acceptance ofresponsibility

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 by the Company set forth above or the facts described in the Statement of Facts. Any such

 contradictory statement shall, subject to cure rights ofthe Company described below, constitute a

. breach ofthis Agreement, and the Company thereafter shall be subject to prosecution as set forth

 in Paragraphs 20 to 24 ofthis Agreement. The decision whether any public statement by any such

 person contradicting a fact contained in the Statement of Facts will be imputed to the Company

 for the purpose of determining whether it has breached this Agreement shall be at the sole

 discretion ofthe Fraud Section and the Office. If the Fraud Section and the Office determine that


 a public statement by any such person contradicts in whole or in part a statement contained in the

 attached Statement of Facts,the Fraud Section and the Office shall so notify the Company,and the

 Company may avoid a breach ofthis Agreement by publicly repudiating such statement(s) within

 five business days after notification. The Company shall be permitted to raise defenses and to

 assert affirmative claims in other proceedings relating to the matters set forth in the Statement of

 Facts provided that such defenses and claims do not contradict, in whole or in part, a statement

 contained in the attached Statement ofFacts. This Paragraph does not apply to any statement made

 by any present or former officer, director, employee,or agent ofthe Company in the course ofany

 criminal, regulatory, or civil case initiated against such individual, unless such individual is

 speaking on behalf ofthe Company.

        27.      The Company agrees that if it, or any of its direct or indirect subsidiaries or

 affiliates issues a press release or holds any press conference in connection with this Agreement,

 the Company shall first consult with the Fraud Section and the Office to determine(a) whether the

 text ofthe release or proposed statements at the press conference are true and accurate with respect

 to matters between the Fraud Section and the Office and the Company; and (b) whether the Fraud

 Section and the Office have any objection to the release.

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       28.      The Fraud Section and the Office agree, if requested to do so, to bring to the

attention oflaw enforcement and regulatory authorities the facts and circumstances relating to the

nature of the conduct underlying this Agreement, including the nature and quality of the

Company's cooperation and remediation. By agreeing to provide this information to such

authorities, the Fraud Section and the Office are not agreeing to advocate on behalf of the

Company,but rather is agreeing to provide facts to be evaluated independently by such authorities.

                         Limitations on Binding Effect of Agreement


       29.      This Agreement is binding on the Company and the Fraud Section and the Office

but specifically does not bind any other component of the Department of Justice, other federal

agencies, or any state, local or foreign law enforcement or regulatory agencies, or any other

authorities, although the Fraud Section and the Office will bring the cooperation ofthe Company

and its compliance with its other obligations under this Agreement to the attention ofsuch agencies

and authorities if requested to do so by the Company. If the court refuses to grant exclusion of

time under the Speedy Trial Act, 18 U.S.C.§ 3161(h)(2), all the provisions ofthis Agreement shall

be deemed null and void, and the Term shall be deemed to have not begun, except that the statute

of limitations for any prosecution relating to the conduct described in the Statement of Facts shall

be tolled from the date on which this Agreement is signed until the date the Court refuses to grant

the exclusion oftime plus six months, and except for the provisions contained within Paragraph 2

ofthis Agreement.




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                                             Notice


       30.     Any notice to the Fraud Section and the Office under this Agreement shall be given

by electronic mail and/or personal delivery, overnight delivery by a recognized delivery service,

or registered or certified mail, addressed to Chief, PGPA Unit, Fraud Section, Criminal Division,

U.S. Department of Justice, 1400 New York Avenue NW, Washington, DC 20005, and Chief,

Financial Crimes and Public Corruption Unit, United States Attorney's Office for the Eastern

District of Virginia, 2100 Jamieson Avenue, Alexandria, VA 22314. Any notice to the Company

under this Agreement shall be given by electronic mail and/or personal delivery,overnight delivery

by a recognized delivery service, or registered or certified mail, addressed to Kwame J. Manley of

Paul Hastings LLP,2050 M Street NW,Washington, DC 20036. Notice shall be effective upon

actual receipt by the Fraud Section and the Office or the Company.

                                     Complete Agreement


       31.     This Agreement,including its attachments, sets forth all the terms ofthe agreement

between the Company and the Fraud Section and the Office. No amendments, modifications, or

additions to this Agreement shall be valid unless they are in writing and signed by the Fraud

Section and the Office, the attorneys for the Company,and a duly authorized representative ofthe

Company.




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     AGREED:

    SAP SE:


             fiA. SJo^y          By:
                                                     Klein
                                          Chief Executive Officer
                                          SAP Si



    Date:                        By:
                                          Viviann,           Jn-Pullar
                                          Group      ief Compliance Officer
                                          SAP SE



     Date:
              1 /lO/S(6^^        By:
                                       L--lCwame J. Manley
                                          Robert D. Luskin
                                          Jason A. Fiebig
                                          Paul Hastings LLP
                                          Counsel to SAP SE


    FOR THE DEPARTMENT OF JUSTICE;



                                          GLENN S. LEON
                                          Chief, Fraud Section
                                          Criminal Division
                                          United States Department ofJustice


    Date: /// O/Zo-Z.'^          BY:
                                          William E. Schurmann, Trial Attorney
                                          Anthony Scarpelli, Trial Attorney
                                          Gwendolyn A. Stamper, Trial Attorney
                                          Jonathan P. Robell, Assistant Chief

                                          JESSICA 0. ABER
                                          United States Attorney
                                          Eastern District of Virginia


    Date:                        BY:                                         "




                                          Heidi B. Gesch
                                          Assistant United States Attorney




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